        Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 1 of 72 PAGEID #: 2593


  Sexual Violence

  Facts at a Glance					                                          			                     		           2012
                                                             A 2011 survey of high school students found that
                        Adults                               11.8% of girls and 4.5% of boys from grades 9-12
                                                             reported that they were forced to have sexual
In a nationally representative survey of adults:1            intercourse at some time in their lives.3
• Nearly 1 in 5 (18.3%) women and 1 in 71 men
  (1.4%) reported experiencing rape at some time in                             Perpetrators
  their lives.
• Approximately 1 in 20 women and men (5.6% and              In a nationally representative survey:1
  5.3%, respectively) experienced sexual violence
  other than rape, such as being made to penetrate           • Among female rape victims, perpetrators were
  someone else, sexual coercion, unwanted                      reported to be intimate partners (51.1%), family
  sexual contact, or non-contact unwanted sexual               members (12.5%), acquaintances (40.8%) and
  experiences, in the 12 months prior to the survey.           strangers (13.8%).
• 4.8% of men reported they were made to penetrate           • Among male rape victims, perpetrators were
  someone else at some time in their lives.                    reported to be acquaintances (52.4%) and
                                                               strangers (15.1%).
• 13% of women and 6% of men reported they
  experienced sexual coercion at some time in their          • Among male victims who were made to penetrate
  lives.                                                       someone else, perpetrators were reported to be
                                                               intimate partners (44.8%), acquaintances (44.7%)
                                                               and strangers (8.2%).
                    College Age

• In a nationally representative survey of adults,                          Health Disparities
  37.4% of female rape victims were first raped
  between ages 18-24.1                                       • Among high school students, 12.5% of American
• In a study of undergraduate women, 19%                       Indian/Alaska Natives, 10.5% of Native Hawaiian/
  experienced attempted or completed sexual                    Pacific Islander students, 8.6% of black students,
  assault since entering college.2                             8.2% of Hispanic students, 7.4% of white students,
                                                               and 13.5% of multiple-race students reported that
               Children and Youth                              they were forced to have sexual intercourse at
                                                               some time in their lives.3
                                                             • Among adult women surveyed in 2010, 26.9%
In a nationally representative survey:1
                                                               of American Indian/Alaska Natives, 22% of non-
• 42.2% of female rape victims were first raped                Hispanic blacks, 18.8% of non-Hispanic whites,
  before age 18.
                                                               14.6% of Hispanics, and 35.5% of women of
• 29.9% of female rape victims were first raped                multiple races experienced an attempted or a
  between the ages of 11-17.                                   completed rape at some time in their lives.1
• 12.3% female rape victims and 27.8% of male rape
  victims were first raped when they were age 10 or
  younger.
         National Center for Injury Prevention and Control
         Division of Violence Prevention
                                                                                   Exhibit 39, page 1
        Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 2 of 72 PAGEID #: 2594

Sexual Violence Facts at a Glance


  Non-fatal Injuries, Medical Treatment,                                            References
         and Health conditions
                                                         1. Black MC, Basile KC, Breiding MJ, Smith SG, Walters ML, Merrick
• Among sexual violence victims raped since their           MT, Chen J, Stevens MR. The National Intimate Partner and Sexual
                                                            Violence Survey (NISVS): 2010 Summary Report. Atlanta, GA:  
  18th birthday, 31.5% of women and 16.1% of men            National Center for Injury Prevention and Control, Centers for
  reported a physical injury as a result of a rape.         Disease Control and Prevention; 2011.
  36.2% of injured female victims received medical       2.   Krebs CP, Linquist CH, Warner TD, Fisher BS, Martin SL. College
  treatment.4                                                 women’s experiences with physically forced, alcohol- or other
                                                              drug-enabled, and drug-facilitated sexual assault before and
• During 2004-2006, an estimated 105,187 females              since entering college. Journal of American College Health 2009;
  and 6,526 males aged 10-24 years received                   57(6):639-647.
  medical care in U.S. emergency departments as a        3.   Centers for Disease Control and Prevention. 1991-2011 High
  result of nonfatal injuries sustained from a sexual         School Youth Risk Behavior Survey Data. Available at http://apps.
  assault.5                                                   nccd.cdc.gov/youthonline. Accessed on 8/24/2012.

                                                         4. Tjaden P, Thoennes N. Extent, nature, and consequences of rape
• Based on 2005 data from the Behavioral Risk
                                                            victimization: Findings from the National Violence Against Women
  Factor Surveillance System (BRFSS), for both              Survey. Washington: US Department of Justice; Publication No.
  women and men, links were found between                   NCJ210346; 2006.
  history of nonconsensual sex and high                  5. CDC. Sexual and Reproductive Health of Persons Aged 10-24 years
  cholesterol, stroke and heart disease; female             —United States, 2002-2007. MMWR 2009; 58(ss06):1-58. Available
                                                            from: www.cdc.gov/mmwr/preview/mmwrhtml/ss5806a1.htm
  victims of nonconsensual sex were more likely to
  report heart attack and heart disease compared to      6.   Smith SG. Breiding MJ. Chronic disease and health behaviours
                                                              linked to experiences of non-consensual sex among women and
  non-victims.6
                                                              men.  Public Health 2011; 125:653-659.
• Rape results in about 32,000 pregnancies each          7.   Holmes MM, Resnick HS, Kilpatrick DG, Best CL. Rape-related
  year.7                                                      pregnancy: estimates and descriptive characteristics from a
                                                              national sample of women. American Journal of Obstetrics and
• Among female victims of partner violence who                Gynecology 1996; 175:320-324.
  filed a protective order, 68% reported they were
                                                         8.   McFarlane  J, Malecha A, Watson K, Gist J, Batten E, Hall I, & Smith
  raped by their intimate partner and 20% reported            S. Intimate partner sexual assault against women: Frequency,
  a rape-related pregnancy.8                                  health consequences & treatment outcomes. Obstetrics and
                                                              Gynecology 2005; 105(1):99-108.




      1-800-CDC-INFO (232-4636)      •      cdcinfo@cdc.gov      •      www.cdc.gov/violenceprevention

                                                                                       Exhibit 39, page 2
          Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 3 of 72 PAGEID #: 2595




Acquaintance Rape Resource Guide
Sexual assault is an unfortunate reality on this campus and on campuses nationwide. At Miami, a variety of
programs are aimed at increasing awareness of sexual assault and supporting students who report sexual
assaults. Unfortunately, many students are unaware that the overwhelming threat of sexual assault is not from
strangers, but from individuals they know or have just met. This summary is designed to provide a basic guide
to university resources regarding sexual assault.


How severe is the problem?
The 2007 U.S. Department of Justice National Crime Victimization Study shows that 248,300 rapes were
reported in the U.S. during that year—a statistic suggesting that every two minutes, someone is sexually
assaulted in the U.S. Futhermore, sexual assaults are vastly underreported; it is estimated that only 5 to 40
percent of rapes are reported (Rape and Sexual Assault: Reporting to Police and Medical Attention; Bureau of
Justice Statistics, 2000).

A 2004 study conducted at 119 colleges (http://archive.sph.harvard.edu/cas/Documents/rapeintox­
pressRelease/) found that one in 20 college women reported being raped during the school year and almost 75
percent of victims said they were intoxicated when the assault occurred. The study was conducted by
researchers at the Harvard School of Public Health Alcohol Study, Saint Joseph's University, and the University
of Arizona.

National statistics vary, but officials agree that most college women know their attackers and that most attacks
go unreported.

A 2000 U.S. Department of Justice study on the sexual victimization of college women reports that 2.8 percent
of those surveyed were the victims of rape or attempted rape per academic year and about 90 percent knew
their attackers. On a campus of 10,000 women, that's 280 rapes or attempted rapes each academic year.
However, the study further found that less than 5 percent of sexual assaults are reported to police.

Miami provides complete information on crime statistics (../../annual­report/crime­stats/index.html) for all
campuses as well as the City of Oxford. When reviewing statistics, remember that many more sexual assaults
occur here and elsewhere than are reported.


What can I do to reduce my risk of being sexually assaulted?
Educating yourself about the problem is a good first step! Programs established to promote awareness among
men and women regarding sexual assault include the following:

     Women Against Violence and Sexual Assault (WAVES)*—This studentExhibit
                                                                     organization
                                                                             40, began
                                                                                  page during
                                                                                       1      the
       Case: school
   2007–2008 1:15-cv-00605-MRB
                    year to promoteDoc #: 40-4 Filed:
                                    awareness         01/26/16about
                                               and education   Page:issues
                                                                      4 of 72 PAGEID sexual
                                                                           surrounding #: 2596violence.

   Men Against Rape and Sexual Assault (MARS)*—This program began during the 2001–2002 school
   year to address rape as a men’s issue. Male students meet in small, all­male groups to discuss how men
   can make a difference.
   Summer Orientation Programming—In Summer 2001, a program for parents and students addressing
   sexual assault among college students was incorporated into orientation for first­year students. Stressing
   the fact that most sexual assaults on campus involve acquaintances, the program includes information on
   what constitutes consent and facilitates discussion of risk reduction and prevention. The student segment
   includes a skit portraying the dynamics involved in acquaintance rape situations.
   Nighttime Door to Door—This service provides a safe escort for students. An escort can be obtained
   from 6 p.m. to 2 a.m. Monday through Wednesday and until 4 a.m. the rest of the week. Call 529­2277.
   Miami Police Victim Services—Website information (http://www.units.miamioh.edu/police/safety­tips­
   resources­and­services/services­offered/victim­services) includes answers to questions commonly asked
   by sexual assault survivors.
   Rape, Abuse, and Incest National Network—This resource provides support for sexual assault victims
   and their loved ones through two hotlines: 800­656­HOPE and online.rainn.org (http://apps.rainn.org/ohl­
   bridge/).


   *Any student, staff, or faculty member can request an educational/interactive program by calling 529­
   1870.


What if I'm sexually assaulted or know someone who is?
   Seek medical help. Your physical health should be your first priority. McCullough­Hyde Memorial
   Hospital in Oxford has specially trained sexual assault nurse examiners. Victims are not billed for
   services. Survivors of sexual assault at Miami are also strongly encouraged to report it to police. Even if
   you don't know whether you want to prosecute, reporting will ensure the collection of evidence and the
   documentation of facts while they are still fresh in your mind.
   Check out police resources. The Miami and Oxford Police have adopted a list of promises
   (http://www.units.miamioh.edu/police/safety­tips­resources­and­services/services­offered/victim­services)
   to survivors of sexual assault, including a pledge to treat every victim with respect and sensitivity and a
   pledge to take every case seriously and to investigate it thoroughly. Police also promise to assist victims
   as they navigate the legal system.
   Find support through the Butler County Rape Crisis Program. A service of the Community
   Counseling and Crisis Center, this program
   (http://www.communitycounselingandcrisiscenter.org/index.php?section=rape&page=home) provides
   confidential immediate and long­term support for sexual assault victims.
   Contact the victim advocate on campus. The coordinator of Sexual Assault Prevention and Response
   Programs can offer support and inform you of available options. Call 529­1870.
   Seek counseling. Counseling is available 24 hours a day by calling the Butler County
                                                                           Exhibit  40,Rape
                                                                                        pageCrisis
                                                                                               2 hotline
          Case:
     at (513)    1:15-cv-00605-MRB
              381­5610                  Doc #: 40-4 Filed: 01/26/16 Page: 5 of 72 PAGEID #: 2597
                       or tollfree, 877­889­5610.
     Students may also seek assistance from Miami's Student Counseling Service by calling 529­4634. On­call
     counselors can be reached at any time through the university police dispatcher.
     Report the crime. Although victims are encouraged to pursue a criminal case, those who choose not to
     can still file a report with the Office of Ethics and Student Conflict Resolution (if the accused is a student).
     In either case, the reports are included in the university's crime statistics. Cases may be pursued
     simultaneously in criminal court and by the Office of Ethics and Student Conflict Resolution.
     Know Miami protocol. Pick up a copy of the brochure, "Important Information for Miami Students About
     Sexual Assault Programs and Services," available from any of the offices listed at the end of this
     publication. Working with the Women's Center, the Student Counseling Service, and Miami Police, the
     Office of Ethics and Student Conflict Resolution established protocol for working with sexual assault
     victims. It ensures that victims' medical needs are taken care of, that victims know what support services
     are available and that they are provided with information about various ways charges can be pursued
     (civil, criminal, campus judicial system).


What are the differences between campus disciplinary and criminal
proceeding?
Both Miami's code of conduct and the criminal system operate under the assumption that an accused is
innocent until proven guilty. However, the standard of proof in disciplinary proceedings is "preponderance of
evidence," a less stringent one than "proof beyond a reasonable doubt," which is required for criminal
proceedings. Preponderance of evidence requires that the facts establish the likelihood that the offense was
committed by the accused person, while certainty must be established to prove guilt beyond a reasonable
doubt.


What happens to charges of sexual assault that are handled in the
university's judicial system?
Outcomes range from dismissal from the university to a finding of not responsible. For example, in a recent
academic year, the university judicial system dealt with four alleged sexual misconduct violations. Two accused
students were dismissed from the university; one was suspended, and the other was found not responsible.
Criminal charges were pursued in two of the cases, but the grand jury did not return an indictment.

College disciplinary systems are not meant to be a substitute for the courts. They are a method for enforcing
standards of behavior—standards that are often higher than those required by criminal law. Students who
choose to pursue internal disciplinary action are informed of and urged to also seek redress via criminal
proceedings. Criminal charges and internal disciplinary proceedings can occur simultaneously.


Suggestions and Comments
Your suggestions and comments on programs to combat sexual assaults are encouraged. Please send them to
sexualassaults@MiamiOH.edu (mailto:sexualassaults@miamioh.edu).

                                                                                   Exhibit 40, page 3
For More     Information
    Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 6 of 72            PAGEID #: 2598

Coordinator of Sexual Assault Prevention and Response Programs: 529­1870
Miami Police: 529­2222
Office of Ethics and Student Conflict Resolution: 529­1417
Dean of Students: 529­1877
Women's Center: 529­1510
Student Counseling Service: 529­4634
Butler County Rape Crisis Program: (513) 381­5610 or tollfree, 877­889­5610




                                  Issued by the Institutional Response Team




  ©2015 Miami University. All rights reserved.
  Privacy Statement (http://miamioh.edu/about­miami/pubs­policies/privacy­statement/index.html)
  Family Consumer Information (http://miamioh.edu/about­miami/pubs­policies/consumer­
  info/index.html)
  Accessibility Needs (https://www.units.muohio.edu/oeeo/node/128)
  Report a Problem With This Website (http://miamioh.edu/includes/problem/index.html)
  Annual Security and Fire Safety Report (http://miamioh.edu/campus­safety/annual­
  report/index.html)

  A to Z Listing (http://miamioh.edu/a­to­z/index.html)
  Employment (http://miamioh.edu/jobs)

                                                                                               PRINT




                                                                              Exhibit 40, page 4
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 7 of 72 PAGEID #: 2599




                                                 Exhibit 41, page 1
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 8 of 72 PAGEID #: 2600




                                                 Exhibit 41, page 2
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 9 of 72 PAGEID #: 2601




                                                 Exhibit 41, page 3
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 10 of 72 PAGEID #: 2602




                                                 Exhibit 41, page 4
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 11 of 72 PAGEID #: 2603




                                                  Exhibit 41, page 5
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 12 of 72 PAGEID #: 2604




                                                 Exhibit 41, page 6
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 13 of 72 PAGEID #: 2605




                                                  Exhibit 41, page 7
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 14 of 72 PAGEID #: 2606




                                                  Exhibit 41, page 8
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 15 of 72 PAGEID #: 2607




                                                  Exhibit 41, page 9
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 16 of 72 PAGEID #: 2608




                                               Exhibit 41, page 10
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 17 of 72 PAGEID #: 2609




                                               Exhibit 41, page 11
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 18 of 72 PAGEID #: 2610




                                               Exhibit 41, page 12
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 19 of 72 PAGEID #: 2611




                                               Exhibit 41, page 13
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 20 of 72 PAGEID #: 2612




                                                Exhibit 41, page 14
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 21 of 72 PAGEID #: 2613
   Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 22 of 72 PAGEID #: 2614




Miami University failed
to protect student from
rape, lawsuit claims
BY: Greg Noble (mailto:gregory.noble@wcpo.com)
POSTED: 4:28 PM, Nov 12, 2013
UPDATED: 6:39 PM, Nov 12, 2013

HAMILTON, Ohio – The rape of a Miami University student could have
been prevented if the university had expelled the alleged attacker for
prior misconduct, a lawsuit against the university claims.

Three years before the alleged attack, another woman had reported to
Miami that the same man had raped her, and two years before, police
had investigated him for secretly videotaping consensual sex with
students and showing the videos to others, without the women’s consent,
according to the lawsuit filed by attorney Eric Deters.

But a search of Butler County court records Tuesday found no evidence
that criminal charges were filed against the accused attacker in any of
those instances – or in the rape accused in the lawsuit.

The suit claims two fraternity brothers told Oxford police about the
videotaping and that the student was kicked out of the frat house as a
result and moved into a dorm.



                                                     Exhibit 43, page 1
          Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 23 of 72 PAGEID #: 2615
     Acting on the tip, police searched his dorm room and found three such
     videos on his computer, the suit says.

     The videos constituted evidence of voyeurism, an Oxford detective wrote
     in his report.

    But Miami University President David C. Hodge disputed that in a letter
Receive top stories directly to your inbox.              close
    to Deters’ client on May 3, 2012, according to the suit.
Sign up for our Good Morning Tri­State newsletter.
Type your email
     “With all due respect, the Oxford police have already investigated this
     matter. We do not have any information to show that (name withheld by
     WCPO) committed any act of voyeurism on this campus or that the
     unidentifiable women on the videos on his computer were Miami
     students or were being recorded without their consent.”

     According to the suit, the father of the alleged victim wrote back to
     Hodge: “I am not sure why it matters at all if these were MU students
     being recorded, although the likelihood of it being non­students would
     seem remote. It is still a felony being committed.”

     WCPO is not naming the persons identified in the lawsuit.

     Deters’ client says she was raped in October 2011. The first rape
     complaint was reported to Miami in 2008, the suit says. Police
     conducted the voyeurism investigation in 2009, according to the police
     report.




                                                            Exhibit 43, page 2
   Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 24 of 72 PAGEID #: 2616
One frat brother told police that the accused student showed him how he
secretly videotaped sex in his room and that he had seen the videos.
Officers confiscated beer and alcohol from the accused student’s dorm
room during their search, the police report said.

The suit charges that Miami should have expelled the alleged attacker for
violating the Student Code of Conduct, and yet it did nothing to
discipline the student until he allegedly attacked Deters’ client.

Miami did expel him after she reported the rape, the university told 9 On
Your Side on Tuesday.

The university issued this statement Tuesday in response to the suit:

“Miami University is committed to holding individuals accountable for
their behavior, and to providing extensive support for victims of sexual
assault. The safety of our students is our highest priority. The claim that
the University failed to take appropriate action or was somehow
negligent is simply not true. While the University does not believe it is
appropriate to publicly discuss the details of the case, the University
emphatically denies that it could have prevented the assault of (name
withheld by WCPO).

“When a victim reports sexual misconduct, Miami University moves
swiftly, offers a vast array of (support services) to the victim and, with
the cooperation of the victim, takes appropriate disciplinary action if the
accused is a student. Within days of receiving a report, the university will
often summarily suspend the accused student pending resolution of the
                                                     Exhibit 43, page 3
    Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 25 of 72 PAGEID #: 2617
disciplinary complaint. In (name withheld) case, Miami responded
immediately and gave the accused student the maximum penalty and
permanently dismissed (name withheld) from the university.”

Deters did not immediately return a call from WCPO.

The suit, filed in Butler County Common Pleas Court, asks for punitive
damages.

See Miami’s policy on sexual assault at
http://www.miamioh.edu/sexualassault
(http://www.miamioh.edu/sexualassault)




Copyright 2013 Scripps Media, Inc. All rights reserved. This material may not be published,
broadcast, rewritten, or redistributed.




                                                           Exhibit 43, page 4
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 26 of 72 PAGEID #: 2618




                                                 Exhibit 43, page 5
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 27 of 72 PAGEID #: 2619




                                                 Exhibit 43, page 6
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 28 of 72 PAGEID #: 2620




                                                 Exhibit 43, page 7
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 29 of 72 PAGEID #: 2621




                                                  Exhibit 44, page 1
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 30 of 72 PAGEID #: 2622




                                                  Exhibit 44, page 2
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 31 of 72 PAGEID #: 2623




                                                  Exhibit 44, page 3
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 32 of 72 PAGEID #: 2624




                                                  Exhibit 44, page 4
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 33 of 72 PAGEID #: 2625




                                                  Exhibit 44, page 5
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 34 of 72 PAGEID #: 2626




                                                  Exhibit 44, page 6
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 35 of 72 PAGEID #: 2627




                                                  Exhibit 44, page 7
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 36 of 72 PAGEID #: 2628




                                                  Exhibit 44, page 8
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 37 of 72 PAGEID #: 2629




                                                  Exhibit 44, page 9
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 38 of 72 PAGEID #: 2630




                                                Exhibit 44, page 10
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 39 of 72 PAGEID #: 2631




                                                Exhibit 44, page 11
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 40 of 72 PAGEID #: 2632




                                                Exhibit 44, page 12
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 41 of 72 PAGEID #: 2633




                                                Exhibit 44, page 13
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 42 of 72 PAGEID #: 2634




                                                Exhibit 44, page 14
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 43 of 72 PAGEID #: 2635




                                                Exhibit 44, page 15
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 44 of 72 PAGEID #: 2636




                                                Exhibit 44, page 16
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 45 of 72 PAGEID #: 2637




                                                Exhibit 44, page 17
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 46 of 72 PAGEID #: 2638




                                                Exhibit 44, page 18
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 47 of 72 PAGEID #: 2639




                                                Exhibit 44, page 19
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 48 of 72 PAGEID #: 2640




                                                Exhibit 44, page 20
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 49 of 72 PAGEID #: 2641




                                                Exhibit 44, page 21
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 50 of 72 PAGEID #: 2642




                                                Exhibit 44, page 22
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 51 of 72 PAGEID #: 2643




                                                Exhibit 44, page 23
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 52 of 72 PAGEID #: 2644




                                                Exhibit 44, page 24
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 53 of 72 PAGEID #: 2645




                                                Exhibit 44, page 25
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 54 of 72 PAGEID #: 2646




                                                Exhibit 44, page 26
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 55 of 72 PAGEID #: 2647




                                                Exhibit 44, page 27
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 56 of 72 PAGEID #: 2648




                                                Exhibit 44, page 28
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 57 of 72 PAGEID #: 2649




                                                Exhibit 44, page 29
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 58 of 72 PAGEID #: 2650




                                                Exhibit 44, page 30
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 59 of 72 PAGEID #: 2651




                                                Exhibit 44, page 31
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 60 of 72 PAGEID #: 2652




                                                Exhibit 44, page 32
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 61 of 72 PAGEID #: 2653




                                                Exhibit 44, page 33
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 62 of 72 PAGEID #: 2654




                                                Exhibit 44, page 34
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 63 of 72 PAGEID #: 2655




                                                Exhibit 44, page 35
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 64 of 72 PAGEID #: 2656




                                                Exhibit 44, page 36
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 65 of 72 PAGEID #: 2657




                                                Exhibit 44, page 37
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 66 of 72 PAGEID #: 2658




                                                Exhibit 44, page 38
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 67 of 72 PAGEID #: 2659




                                                Exhibit 44, page 39
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 68 of 72 PAGEID #: 2660




                                                Exhibit 44, page 40
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 69 of 72 PAGEID #: 2661




                                                Exhibit 44, page 41
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 70 of 72 PAGEID #: 2662




                                                 Exhibit 45, page 1
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 71 of 72 PAGEID #: 2663




                                                  Exhibit 45, page 2
Case: 1:15-cv-00605-MRB Doc #: 40-4 Filed: 01/26/16 Page: 72 of 72 PAGEID #: 2664




                                                 Exhibit 45, page 3
